                      IN TIIE UNITED STATES DISTRICT COURT
                  FOR TIIE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DMSION
                                  No. 2:20-CR-33-D



UNITED STATES OF AMERICA                      )
                                              )
                 v.                           )               ORDER
                                              )
MARK VINCENT DEAN,                            )
                                              )
                               Defendant.     )

       On July 29, 2020, defendant Mark Vincent Dean ("Dean" or "defendant") was indicted

[D.E. 1]. On October 7, 2020, defendant moved to continue the arraignment and trial to a later date

[D.E. 45]. On October 7, 2020, this court granted the motion and continued the arraignment to its

November 2020 term of court [D.E. 46]. On November 6, 2020, this court was informed that there

is an outbreak of COVD-19 at the Franklin County Jail where defendant is being housed

       Pursuant to speedy trial computations, defendant's arraignment and trial should be held not

later than November 19, 2020._ This court's next terms of court are November 30 and December 7,

2020. Due to the need for professionals to address the COVID-19 outbreak at the Franklin County

Jail, the ends of justice served by delaying defendant's arraignment until this court's December 7,

2020 term of court outweigh the best interests of the public and the defendant in a speedy trial.

Thus, the period of delay is excluded from speedy trial computation pursuant to 18 U.S.C. §

3161(h)(7)(A).

       SO ORDERED. This~ day of November 2020.



                                                          JSC.DEVERill
                                                          United States District Judge



            Case 2:20-cr-00033-D Document 55 Filed 11/06/20 Page 1 of 1
